           Case 1:16-cr-00092-RDB Document 15 Filed 05/04/16 Page 1 of 4



                      IN THE UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF MARYLAND

    UNITED STATES                                    :
                                                     :
                                                     :
          v.                                         :          Case No. RDB-16-0092
                                                     :
    DARYL DAVIS                                      :
                                                     :
          Defendant                                  :

          MOTION TO SUPPRESS TANGIBLE AND DERIVATIVE EVIDENCE

         The Defendant, Daryl Davis, by and through his attorneys, James Wyda, Federal Public

Defender for the District of Maryland, and Andrew R. Szekely, Assistant Federal Public

Defender, respectfully moves this Honorable Court to suppress evidence seized during the

execution of a search warrant at 3440 Mayfield Avenue, Baltimore, Maryland. He also moves to

suppress any other evidence, tangible or otherwise, that is derivative of the unlawful search.. In

support of this motion, the defendant states the following:

               1. The defendant is charged with a single count of Possession of a Firearm Following

                  a Felony Conviction, in violation of 18 U.S.C. § 922(g).

               2. On October 5, 2015, police officers executed a search warrant at 3440 Mayfield

                  Avenue, Baltimore, Maryland. During the search of that residence, the police

                  recovered the gun at issue in this case and small quantity of drugs. Further, the

                  discovery provided by the government states that Mr. Davis made an inculpatory

                  custodial statement at the time of his arrest. 1

               3. This search violated the Fourth Amendment to the United States Constitution,

                  because the affidavit underlying the warrant did not establish probable cause to

                  believe evidence of a crime would be found at the location. See Doe v. Broderick,


1   The voluntariness of that statement is the subject of a separate suppression motion.

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         Case 1:16-cr-00092-RDB Document 15 Filed 05/04/16 Page 2 of 4



              225 F.3d 440, 451 (4th Cir. 2000) (“The fundamental constitutional principle that

              search warrants must be founded upon probable cause derives from the language

              of the Fourth Amendment itself, which provides that ‘no Warrants shall issue, but

              upon probable cause, supported by Oath or affirmation, and particularly

              describing the place to be searched, and the persons or things to be seized.’”);

              Illinois v. Gates, 462 U.S. 213, 238-39 (1983) (officer seeking issuance of search

              warrant must present affidavit containing facts sufficient to “provide the

              magistrate with a substantial basis for determining the existence of probable

              cause”; probable cause requirement demands that officer demonstrate “fair

              probability” that evidence of crime will be found at particular place); Brinegar v.

              United States, 338 U.S. 160, 175 (1949) (probable cause means “more than bare

              suspicion”).

          4. Moreover, the affidavit was so deficient that no objectively reasonable officer

              would have relied in good faith on the legality of the search warrant. See United

              States v. Leon, 468 U.S. 897, 923 (1984) (when warrant is “so lacking in indicia of

              probable cause as to render official belief in its existence entirely unreasonable” it

              cannot be relied upon in good faith).

          5. Finally, because the police made an unlawful entry of the police into the residence,

              the statement Mr. Davis made that day is inadmissible as a fruit of the illegal entry

              and search. See Wong Sun v. United States, 371 U.S. 471 (1963).

       Wherefore, for the above reasons and for any other reasons which may appear to the

Court, Mr. Davis moves that all tangible and derivative evidence recovered or obtained based on

the October 5, 2015, search be suppressed.




                                                2
Case 1:16-cr-00092-RDB Document 15 Filed 05/04/16 Page 3 of 4



                           Respectfully submitted,

                           James Wyda
                           Federal Public Defender
                             for the District of Maryland

                           ___/s/________________
                           Andrew R. Szekely (#16407)
                           Assistant Federal Public Defender
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                              3
          Case 1:16-cr-00092-RDB Document 15 Filed 05/04/16 Page 4 of 4



                                REQUEST FOR HEARING

       Pursuant to Rule 105.6 of the Local Rules of the United States District Court for the
District of Maryland, a hearing is requested on the Defendant's motion.

                                     ___________/s/___________
                                    Andrew R. Szekely
                                    Assistant Federal Defender


                               CERTIFICATE OF SERVICE

        I hereby certify that on May 4, 2016, a copy of the foregoing was served via CM/ECF to

all parties in this matter.


                                                  _______/s/________
                                                  Andrew Szekely




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